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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:05-cr-00018-MP-AK

ISREAL TRAVIS BISHOP,

      Defendant.
___________________________/


                                           ORDER

       This matter is before the Court on Doc. 111, Motion to Continue Sentencing, filed by Mr.

Bishop. The motion, which the government does not oppose, is granted. Sentencing is hereby

reset for March 23, 2007, at 10:30 a.m.


       DONE AND ORDERED this 14th day of February, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
